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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
             v.                               :    Criminal Case No. 21-582 (CRC)
                                              :
MICHAEL A. SUSSMANN,                          :
                                              :
                       Defendant.             :


GOVERNMENT’S REPLY CONCERNING THE PARTIES’ MOTIONS IN LIMINE AND
                     RULE 404(b) OBJECTIONS

       The United States of America, by and through its attorney, Special Counsel John H.

Durham, respectfully provides herein its Reply Concerning the Parties Motions in Limine and Rule

404(b) Objections. Rather than belabor a variety of issues that have been extensively discussed by

the parties, the Government makes three brief points that it believes are most salient.

   I. A Joint Venture Plainly Existed Here

       First, the defendant’s portrayal of the joint venture at issue as ill-defined, “[in]coherent,”

and too “complicated” for a jury to understand is simply wrong. (Def. Br. at 19). Federal jury

instructions have stated that in order to prove a conspiracy:

       the Government is not required to show that two or more people sat around
       a table and entered into a solemn pact, orally or in writing, stating that they
       had formed a conspiracy [] and spelling out all of the details. . . . It is rare
       that a conspiracy can be proven by direct evidence of an explicit agreement.

United States v. Maxwell, No. 20-CR-330 (AJN), 2021 WL 5999410, at *14 (S.D.N.Y. Dec. 19,

2021) (emphasis added). But meeting to agree on the express goal of a joint venture is precisely

what happened here, on more than one occasion. In particular, the evidence at trial will show that

in or around June 2016, the individuals referred to in the Indictment as Tech Executive-1,

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Originator-1, and other researchers begin to discuss searching for and collecting derogatory internet

data about the online activities of Donald Trump and his associates. Around this time, Originator-

1 assembled and shared initial purported data with Tech Executive-1 (who, in turn, shared the data

with the defendant).

       The evidence will further show that the joint venture continued and crystallized early in

August 2016 when the defendant, Tech Executive-1, and agents of the Clinton Campaign met at

Law Firm-1. In particular, on August 12, 2016, the defendant, Tech Executive-1, the Clinton

Campaign’s General Counsel (Campaign Lawyer-1), and the co-founder of the Clinton Campaign’s

hired investigative firm (the U.S. Investigative Firm) met in Campaign Lawyer-1’s office. There,

they discussed the same Russian Bank-1 allegations that the defendant would later bring to the FBI.

The evidence will show that at the meeting, the parties agreed to conduct work in the hope that it

would benefit the Clinton Campaign, namely, gathering and disseminating purportedly derogatory

data regarding Trump and his associates’ internet activities. In particular, the Government expects

the evidence will show that as a result of these conversations and during this same time period,

Tech Executive-1 did exactly that: he tasked employees from multiple Internet companies and a

university working under a pending national security contract to mine and gather vast amounts of

internet metadata in order to support an “inference” and “narrative” tying the candidate to Russia.

And calendar entries reflect that as he obtained the results of these taskings, Tech Executive-1

conducted further communications, meetings, and calls with Law Firm-1, including: an August 17,

2016 call with the defendant and Campaign Lawyer-1; an August 19, 2016 meeting with the

defendant and Campaign Lawyer-1; and a September 8, 2016 call and meeting with the defendant—

all of which the defendant billed to the Clinton Campaign.


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        In further support of the above, the Government expects the evidence will show, among

other things, that:

       At 2:01 AM on August 12, 2016, a co-founder of the U.S. Investigative Firm emailed the

        defendant “Meeting in lobby in AM?” referring to his plan to join the defendant, Tech

        Execurtive-1, and Campaign Lawyer-1 for the above-referenced meeting.

       According to calendar entries, this meeting occurred between 7:30 AM and 9:30 AM. The

        defendant billed this time to the Clinton Campaign with the billing description “meeting

        with Campaign Lawyer-1, others regarding [] confidential project.”

       According to expected testimony, during this same time period, Tech Executive-1 called the

        CEO of an internet company and tasked the CEO mine and analyze vast amount of Internet

        traffic for any derogatory information he and his employees could find about Trump and his

        associates’ internet connections and online communications.

       In order to guide the data mining project, Tech Executive-1 sent the CEO a list (the “Trump

        Associates List”) containing email addresses, IP addresses, physical addresses, and other

        information of several Trump associates. Multiple individuals on the list were at that time

        the focus of extensive opposition research by the U.S. Investigative firm.

       Tech Executive-1 told the CEO in express terms that he was conducting this project with

        someone from a Washington, DC law firm with close ties to Clinton and the Democratic

        party, referring to his communications with Law Firm-1 and the U.S. Investigative Firm.

       Also during this time period, and as set forth in the Government’s prior filings, Tech

        Executive-1 tasked and/or coordinated with Originator-1, Researcher-1, and Researcher-2

        to carry out similar data mining in order to gather additional internet metadata about Trump

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       and his associates. In doing so, Tech Executive-1 exploited sensitive internet data that

       researchers were provided to guard against cybersecurity threats, but which Tech Executive-

       1 instead directed them to mine for political purposes.

      As Tech Executive-1 continued to meet and communicate with Law Firm-1 and the U.S.

       Investigative Firm, he made clear his desire to ensure that the “VIPs” (referring to Law

       Firm-1 and the Clinton Campaign) would be “happy” with the project’s findings.

In other words, the goal of the joint venture could not have been more clear: it was to gather and

disseminate derogatory non-public information regarding the internet activities of a political

candidate and his associates. And that venture was far from collateral to the charged crime. Indeed,

the above-described joint venture was the very project that led Tech Executive-1 to rely upon the

defendant’s services; the very project that gave rise to the Russian Bank-1 allegations; the very

project that prompted agents of the Clinton Campaign to meet with Tech Executive-1; and the very

project that caused the defendant to meet with the FBI General Counsel and lie to him about the

clients who were behind all of this work. As the Government will demonstrate at trial, it was also

the politically-laden and ethically-fraught nature of this project that gave Tech Executive-1 and the

defendant a strong motive to conceal the origins of the Russian Bank-1 allegations and falsely

portray them as the organic discoveries of concerned computer scientists.

   II. Evidence Concerning the Assembling of the Russian Bank-1 Data and Allegations is
       Not Cumulative

       Nor is evidence of this joint venture gratuitous or cumulative of other evidence. Indeed, the

Government possesses only a handful of redacted emails between the defendant and Tech

Executive-1 on these issues.     And the defendant’s billing records pertaining to the Clinton

Campaign, while incriminating, do not always specify the precise nature of the defendant’s work.

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       Accordingly, presenting communications between the defendant’s alleged clients and third

parties regarding the aforementioned political research would hardly amount to a “mini-trial.” (Def.

Mot. at 20). Rather, these communications are among the most probative and revealing evidence

that the Government will present to the jury. Other than the contents of privileged communications

themselves (which are of course not accessible to the Government or the jury), such

communications will offer some of the most direct evidence on the ultimate question of whether

the defendant lied in stating that he was not acting for any other clients.

        In short, because the Government here must prove the existence of client relationships that

are themselves privileged, it is the surrounding events and communications involving these clients

that offer the best proof of those relationships.

       Moreover, even if the Court were to find that no joint venture existed, all of the proffered

communications are still admissible because, as set forth in the Government’s motions, they are not

being offered to prove the truth of specific assertions. Rather, they are being offered to prove the

existence of activities and relationships that led to, and culminated in, the defendant’s meeting with

the FBI. Even more critically, the very existence of these written records – which laid bare the

political nature of the exercise and the numerous doubts that the researchers had about the

soundness of their conclusions – gave the defendant and his clients a compelling motive, separate

and apart from the truth or falsity of the emails themselves, to conceal the identities of such clients

and origins of the joint venture. Accordingly, they are not being offered for their truth and are not

hearsay.




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    III.      The Authors of the Relevant Emails Were Members of the Joint Venture

           Finally, the defendant misunderstands the law of conspiracies and joint ventures when he

claims that certain authors of the emails cited in the Indictment and the Government’s Motion were

not members of the joint venture at all. (Def. Mot. at 20). For example, the defendant claims that

“there is not evidence that the Researchers were working in concert with the Clinton Campaign or

were even aware of the Campaign’s activities.” Id. at 20-21. But it is black-letter law in this

Circuit that:

                  [i]t is enough ‘that members of the conspiracy in some way or
                  manner, or through some contrivance, positively or tacitly[,] came
                  to a mutual understanding to try to accomplish a common and
                  unlawful plan.’ Id. All coconspirators must share in the general
                  conspiratorial objective, though they need not know all the details
                  of the plan or even possess the same motives. Hobson, 737 F.2d at
                  51. They need not know the identities of other coconspirators. Id.

Thompson v. Trump, No. 21-CV-00400 (APM), 2022 WL 503384, at *30 (D.D.C. Feb. 18, 2022).

See also Youming Jin v. Ministry of State Sec., 335 F. Supp. 2d 72, 80–81 (D.D.C. 2004) (holding

that the party offering the evidence “do[es] not need to provide detailed connections between, for

example, [a co-conspirator] and the defendant.”)         Thus, the researchers’ purported lack of

knowledge concerning certain aspects of the conspiracy (or of other participants in it) is of

absolutely no moment.

           Similarly, the defendant’s contention that certain statements by Researcher-1 are

inadmissible because they “frustrate, rather than advance the purported joint venture” is wrong.

That Researcher-1 ultimately expressed doubts about the conclusions Tech Executive-1 was

seeking to advance does not in any way suggest that Researcher-1 was not a member of the joint

venture to begin with. To the contrary, numerous emails make plain that Researcher-1 joined and


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participated in the venture to mine and analyze internet data in support of the desired “inference”

and “narrative.” For example, in an email dated August 21, 2016, he stated, in part:

               Our goal here is to show (based on network visibility) an RU-
               Trump link. This link could be made based on the domain names
               that Trump owns, and the remote IPs that visited them, for example
               form the RU. Clearly, this is very weak link. A stronger link would
               be the one that shows direct email communications between a
               Trump domain name and a domain of Russian interest.

               [. . . ]

               However, if our narrative is to show that Trump has been
               financially active in the RU, we should not look for explicit
               evidence (i.e., direct communications between Trump and the RU).
               That looks too obvious, and I am almost certain that someone would
               not allowed that from within his organization. We should, perhaps,
               look for _indirect_ communications between Trump, a financial
               entity of some sort, and the links of this financial entity with
               Russia.

(emphasis added). In other words, the defendant’s efforts to distance Researcher-1 from the joint

venture in order to shield his emails from the jury fall flat. To be sure, Researcher-1 maintained a

comparably greater degree of independence and scientific integrity than the other researchers

insofar as he pushed back repeatedly against the over-stated conclusions that Tech Executive-1 and

his other associates seemed intent on advancing. But his communications make plain that even

though he believed the proposition being advanced in the Russian Bank-1 allegations was unproven,

he nevertheless agreed to advance the overall goals of the project that Tech Executive-1 had




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requested.1 Accordingly, his communications are admissible. Youming Jin., 335 F. Supp. 2d at

80–81.

                                         CONCLUSION

         For the foregoing reasons, the Court should grant the Government’s Motions in Limine and

permit the Government to offer the categories of evidence outlined in its Rule 404(b) notices.


                                             Respectfully submitted,

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          For example, as a result of perceived pressure to please Tech Executive-1 because of his
role as a data provider for the Agency-1 contract, Researcher-1 ultimately sent an email endorsing
Tech Executive-1’s draft white paper that the defendant would later provide to the FBI, stating: “A
DNS expert would poke several holes to this hypothesis (primarily around visibility, about which
very smartly you do not talk about). That being said, I do not think even the top security (non-DNS)
researchers can refute your statements. Nice!” Ind. ¶ 24(f).

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